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 13   Redwood Capital Management, LLC
 14
 15                        UNITED STATES DISTRICT COURT
 16                       CENTRAL DISTRICT OF CALIFORNIA
 17   K.A.,                                      CASE NO. 2:24-cv-04786-WLH-ADS
 18                  Plaintiff,                  REQUEST FOR JUDICIAL
 19           vs.                                NOTICE IN SUPPORT OF
                                                 REDWOOD CAPITAL
 20   MINDGEEK S.A.R.L. a foreign entity;        MANAGEMENT, LLC’S NOTICE
      MG FREESITES, LTD., a foreign
 21   entity; MINDGEEK USA                       OF MOTION AND MOTION TO
      INCORPORATED, a Delaware                   DISMISS COMPLAINTS IN THE
 22   corporation; MG PREMIUM LTD, a             RELATED CASES
      foreign entity; MG GLOBAL
 23   ENTERTAINMENT INC., a Delaware             Date:       January 31, 2025
      corporation; 9219-1568 QUEBEC, INC.,       Time:       1:30 p.m.
 24   a foreign entity; BERND BERGMAIR,          Place:      Courtroom 9B
      a foreign individual; FERAS ANTOON,        Judge:      Hon. Wesley L. Hsu
 25   a foreign individual; DAVID
      TASSILLO, a foreign individual; VISA
 26   INC., a Delaware corporation;              Complaint filed: June 7, 2024
      REDWOOD CAPITAL
 27   MANAGEMENT, LLC, a Delaware                [Notice of Motion and Motion to
      limited liability company; REDWOOD         Dismiss, Memorandum of Points and
 28
              REQUEST FOR JUDICIAL NOTICE ISO DEFENDANT REDWOOD CAPITAL
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  1   DOE FUNDS 1-7; COLBECK                Authorities in support thereof, and
      CAPITAL MANAGEMENT, LLC, a            Declaration of James M. Pearl in support
  2   Delaware company, COLBECK DOE         thereof, filed concurrently herewith]
      FUNDS 1-3,
  3
                   Defendants.
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  1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2         Pursuant to Rule 201 of the Federal Rules of Evidence (“FRE”), Defendant
  3   Redwood Capital Management, LLC (“Redwood”), by and through its undersigned
  4   counsel, respectfully requests that the Court take judicial notice of the following
  5   exhibits in connection with Redwood’s Omnibus Motion to Dismiss Complaints in
  6   Related Cases pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) (“Motion to
  7   Dismiss”).
  8         1.       Exhibit A: A true and correct copy of a printout of a December 16, 2020
  9   article published by Financial Times, with the headline, “MindGeek: the secretive
 10   owner of Pornhub and RedTube,” available at https://www.ft.com/content/b50dc0a4-
 11   54a3-4ef6-88e0-3187511a67a2 (Dec. 16, 2020). The article states, “The solution
 12   came in 2011, in the form of $362m in debt from 125 secret investors that —
 13   according to one financial backer — included Fortress Investment Group, JPMorgan
 14   Chase and Cornell University.”
 15         2.       Exhibit B: A true and correct copy of a printout of a December 18, 2020
 16   article published by Financial Times, with the headline, “Robinhood: playing for
 17   keeps,”      available   at     https://www.ft.com/content/d1f178c9-5ca7-4506-9507-
 18   ee93939f8ec3 (Dec. 18, 2020). The article states, “Fast-forward to 2011, when
 19   Thylmann secured $362m in debt from 125 secret investors that — according to one
 20   financial backer — included Fortress Investment Group, JPMorgan Chase and
 21   Cornell University.”
 22   I.    JUDICIAL NOTICE OF EXHIBITS A AND B COMPORTS WITH THE
 23         FEDERAL RULES OF EVIDENCE
 24         The Court should take judicial notice of Exhibits A and B because this Request
 25   meets the requirements of FRE 201. On a motion to dismiss, “courts must consider
 26   the complaint in its entirety, as well as other sources . . . , in particular, documents
 27   incorporated into the complaint by reference, and matters of which a court may take
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  1   judicial notice.”1 Webb v. Trader Joe’s Co., 999 F.3d 1196, 1201 (9th Cir. 2021)
  2   (quoting Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)); see
  3   also Mullis v. U.S. Bankruptcy Court, 828 F.2d 1385, 1388 (9th Cir. 1987) (“[F]acts
  4   subject to judicial notice may be considered on a motion to dismiss.”) (citation
  5   omitted). Pursuant to Federal Rule of Evidence 201, a fact is judicially noticeable
  6   whenever it is “not subject to reasonable dispute because it: (1) is generally known
  7   within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
  8   determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.
  9   Evid. 201(b). Courts “must take judicial notice if a party requests it and the court is
 10   supplied with the necessary information.” Fed. R. Evid. 201(c)(2).
 11         A.     Exhibits A and B are Judicially Noticeable News Articles
 12                Containing a Judicially Noticeable Fact About MindGeek’s
 13                Numerous Lenders
 14         Redwood’s request for judicial notice of Exhibits A and B pertains to a widely-
 15   known fact published in multiple articles that directly relates to the allegations in the
 16   individual Complaints (the “Related Cases”) filed by Plaintiffs A.K., W.P., L.S.,
 17   W.L., C.S., S.O., J.C., K.A., N.L., T.C., X.N., N.Y., L.T., and J.L. (collectively,
 18   “New Plaintiffs”) concerning the number of lenders to MindGeek. 2 There is no
 19   rational reason to doubt the authenticity of Exhibits A or B, as the addresses for the
 20   webpages they were printed from have been provided and can be readily verified.
 21   Moreover, courts have held that publications, including news articles, are proper
 22   1
        “[I]ncorporation-by-reference is a judicially created doctrine that treats certain
 23   documents as though they are part of the complaint itself. The doctrine prevents
 24   plaintiffs from selecting only portions of documents that support their claims, while
      omitting portions of those very documents that weaken — or doom — their claims.”
 25   Pino v. Cardone Cap., LLC, No. CV 20-8499-JFW(KSX), 2023 WL 7800138, at *5,
 26   (C.D. Cal. Oct. 4, 2023), appeal docketed, No. 23-3512 (9th Cir. Dec. 15, 2023)
      (citation omitted).
 27   2
        As used herein, “MindGeek” collectively refers to defendants MindGeek S.A.R.L.,
 28   MG Freesites, Ltd., MindGeek USA Incorporated, MG Premium LTD, MG Global
      Entertainment Inc., 9219-1568 Quebec, Inc., and other affiliated entities.
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  1   subjects of judicial notice because the contents are “capable of accurate and ready
  2   determination by resort to sources whose accuracy cannot reasonably be questioned.”
  3   Plevy v. Haggerty, 38 F. Supp. 2d 816, 821 (C.D. Cal. 1998) (taking judicial notice
  4   of news articles when ruling on motion to dismiss); United States v. Kaczynski, 443
  5   F. App’x 299, 300 (9th Cir. 2011) (judicially noticing an auction date from an online
  6   newspaper article). Indeed, “it is not uncommon for courts to take judicial notice of
  7   factual information found on the world wide web.” Turner v. Samsung Telecomms.
  8   Am., LLC, No. CV 13-00629-MWF (VBKx), 2013 WL 12126749, at *2 (C.D. Cal.
  9   Nov. 4, 2013) (citation omitted). Thus, because Redwood requests that the Court
 10   take judicial notice of facts that “can be accurately and readily determined from
 11   sources whose accuracy cannot be reasonably questioned,” and has “supplied [the
 12   Court] with the necessary information[,]” the Court should grant Redwood’s Request
 13   as to Exhibits A and B. See Fed. R. Evid. 201.
 14         In addition, the Court should take judicial notice of Exhibits A, and B because
 15   these documents contradict allegations made in the Related Cases. In Sprewell v.
 16   Golden State Warriors, 266 F.3d 979 (9th Cir. 2001), the Court expressed that courts
 17   sitting in the Ninth Circuit are “‘not required to accept as true [Plaintiff’s] conclusory
 18   allegations which are contradicted by documents referred to in the complaint’” or
 19   “that contradict matters properly subject to judicial notice[.]” Id. at 988 (citation
 20   omitted). Accordingly, courts have taken judicial notice of online documents that
 21   contradict plaintiffs’ allegations. See, e.g., Datel Holdings Ltd. v. Microsoft Corp.,
 22   712 F. Supp. 2d 974, 983-84 (N.D. Cal. 2010) (taking judicial notice of online
 23   documents upon which a plaintiff’s claims were based, where those documents
 24   contradicted the plaintiff’s allegations).
 25         Here, as in Datel, Redwood has identified online publications at Exhibits A
 26   and B that contradict New Plaintiffs’ allegations regarding the number of lenders
 27   accessible to MindGeek. In the Related Cases, the New Plaintiffs assert claims
 28   against Redwood and Colbeck Capital Management, LLC (“Colbeck”), and the
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  1   Related Cases misleadingly suggest Redwood and Colbeck were the only lenders to
  2   MindGeek in 2011, 2013, and 2018. See, e.g., K.A. Compl. ¶¶ 247 (alleging that
  3   only Colbeck and Redwood provided MindGeek with “necessary financing” and
  4   suggesting there were no other lenders) and 267 (alleging that “the rest of the
  5   investment community was not willing to finance” MindGeek). Because Exhibits A
  6   and B publicly reported in widely disseminated, national publications in 2020 that
  7   MindGeek had had 125 lenders during the same period of time in which Redwood
  8   and Colbeck provided financing, this fact undermines New Plaintiffs’ suggestions
  9   that MindGeek did not have other lenders and could not obtain loans from others if
 10   Redwood did not exist.
 11         Accordingly, the Court should take judicial notice of Exhibits A and B.
 12   II.   CONCLUSION
 13         For the foregoing reasons, Redwood respectfully requests that the Court take
 14   judicial notice of the four documents described herein (Exhibits A through D).
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 16
      DATED: October 30, 2024                   PAUL HASTINGS LLP
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 18
                                                By: /s/ James M. Pearl
 19                                                        JAMES M. PEARL
 20                                             Attorneys for Defendant Redwood
                                                Capital Management, LLC
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